Case 2:04-cV-02689-.]P|\/|-de Document 25 Filed 07/25/05 Page 1 of 2 Page|D 38

.HLED Bv __ nc
IN THE UNITED sTATEs DISTRICT COURT ' ' '

FOR THE WESTERN DISTRICT OF TENNESSEE 05`“”_25 PH 3.30

WESTERN DIVISION
U$DV

 

JoHN MAcK EDWARDS,
Plaintiff,

v. No. 04-2689 Ml/v

cITY oF covINGToN, TENNEssEE,

and RUSSELL BAILEY, in his
capacity as Mayor thereof,

vv\¢¢vvv\_¢\_¢\¢¢\-Iv

.Defendants.

 

ORDER SETTING TELEPHONE CONFERENCE

 

The Court hereby Sets a telephone conference in this case
for Tuesdav, Auqust 9, 2005, at 3:00 p.m. Plaintiff shall

initiate the call with all parties on the line.

_/
SO ORDERED this gl?th day cf July, 2005.

q~O m‘O~Q/O.»

J N P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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With ama 58 and/or 79(3) FRCP on ¢9~

 

STATES DISTRICT oURT WESTNER ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02689 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Edward J. McKenney

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103--255

Julie Dichtel Byrd

LAW OFFICE OF .TULIE BYRD
6645 Stage Rd.

Ste. 102

Bartlett7 TN 38184

DWayne S. Byrd

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
l\/lemphis7 TN 38125--880

Honorable J on McCalla
US DISTRICT COURT

